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                                                         October 20, 2022

     VIA CM/ECF
     Honorable Thomas I. Vanaskie, Special Master
     Stevens & Lee, P.C.
     1500 Market Street, East Tower, 18th Floor
     Philadelphia, Pennsylvania 19103

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                           No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Vanaskie:

                Plaintiffs object to ZHP’s submission regarding Plaintiffs’ motion for Rule 37 sanctions,

     filed months after the close of briefing, which already included an improper sur-reply from ZHP,

     and long after oral argument was concluded, without leave of Court. There is absolutely no basis

     for this submission to be considered, and in fact, ZHP offers no justification or basis for the Court

     to permit the late filing. This submission should be disregarded and to the extent the submission

     can be deemed a request for leave to file this submission out of time, relief that was not formally

     or properly requested, that application should be denied.

                In addition to the fatal procedural defects, the submission does not move the needle in

     ZHP’s favor even were it to be considered. Boiled down, it is an ipse dixit conclusory opinion that

     Mr. Chen and ZHP acted in good faith, based on speculative assumptions, as Mr. deLisle does not

     even state that he spoke with Mr. Chen or anyone else at ZHP, or provide any competent basis for
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 his assumptions. This includes: (1) in paragraph 25 addressing the failure by Mr. Chen and ZHP

 to fully disclose the purpose of the request he states, “It is quite plausible that a senior company

 official seeking permission to travel abroad, and worried that the request might be denied, might

 well hope that a seemingly routine request would receive relatively little scrutiny and thus be more

 likely to win approval.” (2) in paragraph 26, “The approach taken to describing the purpose of

 travel makes still more sense if the applicant and his staff saw the initial submission of the

 Approval form as the first step in a potentially multi-step process where an initial rejection might

 be revisited.” (3) in paragraph 26 speculating as to the purpose of requesting permission to disclose

 the denied Approval Form, following and only in response to Plaintiffs’ request for ZHP to support

 its refusal to produce Mr. Chen, “perhaps as a step toward further efforts to obtain reconsideration

 or reversal of the denial.” (4) in paragraph 29 explaining why the purpose to comply with a District

 Court Order compelling the deposition was not disclosed, “A request to exit mainland China to be

 deposed in litigation in a foreign court proceeding raises particular concerns about which a

 relatively sophisticated applicant might well worry (and, in turn, such an applicant would seek to

 avoid drawing attention to this purpose in a request for permission to travel).” (5) in paragraph 30

 speculating as to Mr. Chen’s state of mind once again, “A prospective deponent in Chen’s

 position…could reasonably be concerned that an application form explicitly stating

 “deposition” as the purpose for travel might be read by the reviewing authorities as…” (6) in

 paragraph 31, “Chen and his senior staff at ZHP are likely to be aware of some or all of the

 foregoing considerations.” and (7) in paragraph 32 speculating as to Mr. Chen’s state of mind

 about and experience in seeking permission to leave China to be deposed without even knowing if

 this was the first time (Plaintiffs are not aware of another instance), “This likely includes the bases

 for a strong sense of how to apply for an exit permit to provide deposition testimony in litigation
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 outside China…” (Emphasis added). Nor does he cite to or analyze the laws controlling the

 application and regulatory entities involved; instead, he just offers assumptions and conclusions.

        Of course, missing from the record is any sworn statement from Mr. Chen himself as to

 what he did, and why, so ZHP’s purported expert is speculating as to why Mr. Chen and ZHP acted

 as they did, in an improper, far out of time, and obviously inadequate effort to create an illusory

 factual record as a substitute for undisclosed facts within the knowledge of Mr. Chen. All of which

 was required to be submitted many months ago when the issues were presented to the Court. In

 fact, he cannot even say that Plaintiffs’ arguments are wrong, speculating that Plaintiffs’ criticisms

 do not accurately identify flaws in the effort by Mr. Chen and ZHP to effectuate the Court-ordered

 deposition at issue: “Plaintiffs’ inferences are not the most plausible explanations for the

 rejection of Chen’s application…” (deLisle Dec. at 6).

        Moreover, ZHP does not seem to have provided Mr. deLisle with Exhibit 27 to Plaintiffs’

 motion, which shows that Mr. Chen left China in October 2019 to meet with valsartan customers

 who expected “Mr. Chen [to] express Huahai’s regret for what happened and the willingness to

 listen and make a step towards [redressing the customer’s] claims for damage.” (ZHP01224767,

 1224770). This is clear evidence that the blocking statute hiding Mr. Chen is applied in a biased

 manner to frustrate the United States Courts, while there is no problem with Mr. Chen leaving the

 country to promote the commercial interests of ZHP. Mr. deLisle’s declaration does not even

 address this.

        The impropriety and inadequacy of this filing is manifest, and the filing should be rejected

 and not considered, as a similar filing by Mr. Delisle was rejected by another Court. See Stross v.

 NetEase, No. CV 20-00861, 2020 WL 5802419, at *1 (C.D. Cal. Aug. 20, 2020) (denying

 “Defendant's Request for Leave to File Supplemental Declaration of Jacques Delisle,
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 submitted on August 17, 2020, nearly two weeks after oral argument and more than four

 months after Defendant filed its Motions to Dismiss to supplement its forum non conveniens

 argument” (emphasis added)) (Ex. 1 hereto).

        The bottom line is that Mr. Chen and ZHP (which the declaration confirms is a “private–

 that is, non-state-owned” company (deLisle Decl. 5, fn.5)) chose to base the company’s operations

 in China, whereas ZHP’s subsidiaries Huahai, US, Inc., Prinston, and Solco are based in New

 Jersey. Mr. Chen and ZHP understood the political and legal realities of China including the

 inadequacy of Hague discovery acknowledged in the declaration at footnote 11 stating, “China

 does not permit attorneys to take depositions in China for use in foreign courts.” On the other

 hand, they were also aware of the requirements of the United States legal system and their

 obligations to comply with United States law. This Court has already determined that Mr. Chen

 and ZHP cannot hide behind Chinese law in failing to comply with a District Court Order:

               In looking at the likely effect these PRC laws do and will have on
               the U.S. market, I find this a most important consideration. Even
               though between a “legal rock and hard place”, PRC defendants
               cannot enter the U.S. market expecting a possible shield from
               unfavorable discovery by PRC blocking statutes. As one judge's
               decision has implied, if you don't like the rules, then stop doing
               business in the U.S.

               Any expectation that a PRC law will successfully shield discovery
               in a U.S. litigation needs a tempering of realism. That is, PRC
               defendants must know from the outset they risk serious
               consequences if and when they fail to obey a U.S. court's order to
               compel discovery. These consequences arise from the clearly
               enumerated authority under Rule 37, which U.S. courts wield as
               needed.

               An example of a court imposing such a tempering realism is found
               In re Activision Blizzard, Inc., []86 A.3d 531, 552 (De. Ch. Ct.
               2014). There, the court required French defendants to make a good
               faith effort to obtain promptly the assistance of the appropriate
               French authority in deciding the disclosable nature of documents at
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               issue. This good faith effort is similar to what I see ZHP has done.
               However, the Activision court's patience was not infinite in that the
               French defendants were given a deadline by which the blocked
               French documents had to be produced, with or without the French
               authority assistance. The court stated:

                              “If [document] production has not
                              been authorized [by the French
                              authority] by March 31, 2014, when
                              substantial completion of document
                              production is due, then the [French]
                              Defendants shall produce on that date
                              the documents called for by the
                              plaintiff's discovery requests or face
                              the prospect of sanctions in this court.
                              In considering sanctions, the court
                              will be guided by the factors cited in
                              Section 442 of the Restatement [Third
                              of the Foreign Relations Law] and
                              will take into account the
                              recommendation in Section 442(2)(c)
                              of the Restatement that the
                              appropriate      sanctions      involve
                              making ‘findings of fact adverse to a
                              party that has failed to comply with
                              the order for production, even if that
                              party has made a good faith effort to
                              secure permission from the foreign
                              authorities to make the information
                              available and that effort has been
                              unsuccessful.’        Restatement §
                              442(2)(c).”

               Importantly, the non-compliance of a Court Order risks the
               imposition of Rule 37 sanctions.

 In re Valsartan, Losartan, & Irbesartan Prods. Liab. Litig., MDL No. 2875, 2021 WL 6010575,

 at *18-19 (D.N.J. Dec. 20, 2021) (emphasis added) (footnotes omitted) (Ex. 53 to Pls.’ Opening

 Br.) (ECF 1825).

        ZHP’s brazen submission of Mr. deLisle’s declaration demonstrates why a hard line must

 be drawn. And his own writings do the same. When discussing the “Limits of Consumer
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 Litigation against Chinese Producers” “particularly where parties seek to take depositions in

 China,” Mr. deLisle wrote, “The ordinary remedies available to consumers in U.S. law are

 comparatively ineffective in addressing the large and growing share of harms that come from

 Chinese (and other) imports.” 1 deLisle & Trujillo, Consumer Protection in Transnational

 Contexts, 58 Am. J. of Comp. L. 135, 161 (2010).


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        ZHP’s current good manufacturing practices expert David L. Chesney agreed with this
 concern in his article, titled Executive Responsibility for Quality, and during his deposition:

                [Q]uality assurance (QA) and GMP compliance may be viewed
                differently in the pharmaceutical industry than in those industries
                where a reputation for high quality drives sales. QA may be viewed
                as a “cost of doing business” or an internal “police department”
                issuing directives that delay or prevent product release. That
                viewpoint can result in a low priority being assigned to quality
                operations and resourcing, which can lead in turn to quality
                problems, regulatory difficulties, unnecessary expense, adverse
                publicity, lawsuits and investor disappointment. All these
                consequences are preventable if executive managers understand the
                importance of the QA function and treat it as a critical business
                operation just like other critical areas, such as strategic planning,
                financial management and others.

 Dep. Tr. 236:21-237:22 (emphasis added) (Ex. 2 hereto) (quoting the article (Ex. 3 hereto)). The
 article concludes:

                The pharmaceutical industry is globalized as never before in
                history. Requirements and expectations of health regulatory
                authorities may differ somewhat, but through international bodies
                such as ICH, regulators are achieving growing consensus about
                the most critical quality management concepts. First among
                those is that executive management teams are the key to a
                company’s ability to successfully meet quality standards on a
                consistent basis. Doing so is critical to proper clinical performance
                of the products of this industry and therefore, ultimately, to global
                public health.

                Prudent management teams recognize this and support their
                quality units both philosophically and materially, with strong
                policies backed up by consistent actions, authority and
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          Plaintiffs request that this submission be rejected and that the requested sanctions be

 ordered.

          Thank you for your courtesies and consideration.

                                                      Respectfully,


                                                      ADAM M. SLATER

 Encls.

 cc:      All Counsel (via CM/ECF)




                 resources. Failure to do so may have both serious business
                 consequences for the company and potentially even personal
                 consequences for individual executives.

 (Ex. 3 at 6-7). Mr. Chesney confirmed that Mr. Chen would “fall within the context of top
 management” facing the consequences. (Dep. Tr. 238:7-11).
